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                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Molly Moriarty Lane, Bar No. 149206
                     2   Benjamin P. Smith, Bar No. 197551
                         One Market, Spear Street Tower
                     3   San Francisco, CA 94105-1596
                         Tel: +1.415.442.1000; Fax: +1.415.442.1001
                     4   molly.lane@morganlewis.com
                         benjamin.smith@morganlewis.com
                     5
                         MORGAN, LEWIS & BOCKIUS LLP
                     6   David L. Schrader, Bar No. 149638
                         Megan A. Suehiro, Bar No. 316104
                     7   300 South Grand Avenue, 22nd Floor
                         Los Angeles, CA 90071-3132
                     8   Tel: +1.213.612.2500; Fax: +1.213.612.2501
                         david.schrader@morganlewis.com
                     9   megan.suehiro@morganlewis.com
                    10   Attorneys for Defendant
                         CHART INC.
                    11

                    12                              UNITED STATES DISTRICT COURT
                    13                             NORTHERN DISTRICT OF CALIFORNIA
                    14                                  SAN FRANCISCO DIVISION
                    15

                    16    IN RE PACIFIC FERTILITY CENTER              Case No. 3:18-cv-01586-JSC
                          LITIGATION
                    17                                                DEFENDANT CHART INC.’S
                                                                      REQUEST FOR JUDICIAL NOTICE IN
                    18                                                SUPPORT OF ITS MOTION TO
                                                                      DISMISS THE SECOND, EIGHTH, AND
                    19                                                TENTH CAUSES OF ACTION OF THE
                                                                      FIRST AMENDED CONSOLIDATED
                    20                                                CLASS ACTION COMPLAINT FILED
                                                                      ON NOVEMBER 30, 2018
                    21

                    22                                                Date:       August 1, 2019
                                                                      Time:       9:00 a.m.
                    23                                                Judge:      Hon. Jacqueline S. Corley
                                                                      Place:      Courtroom F, 15th Floor
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MORGAN, LEWIS &                                                                CHART INC.’S REQUEST FOR JUDICIAL NOTICE
 BOCKIUS LLP                                                                        IN SUPPORT OF ITS MOTION TO DISMISS
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                CASE NO. 3:18-cv-01586-JSC
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                     1                                REQUEST FOR JUDICIAL NOTICE

                     2          1.      In accordance with Rule 201 of the Federal Rules of Evidence (“Rule 201”),

                     3   Defendant Chart Inc. (“Chart”) respectfully requests that this Court take judicial notice of

                     4   Exhibits 1 and 2 attached hereto (the “Informed Consent Agreements”), in support of its Motion

                     5   to Dismiss the Second, Eighth, and Tenth Causes of Action of the First Amended Consolidated

                     6   Class Action Complaint Filed on November 30, 2018 (the “Motion”).

                     7          2.      Rule 201 allows a court to take judicial notice of facts that are “not subject to

                     8   reasonable dispute” because they are either (1) “generally known within the trial court’s territorial

                     9   jurisdiction” or (2) “can be accurately and readily determined from sources whose accuracy
                    10   cannot reasonably be questioned.” Fed. R. Evid. § 201(b). The Court “must take judicial notice

                    11   if a party requests it and the court is supplied with the necessary information.” Id. § 201(c)(2).

                    12          3.      A court may take judicial notice of legally operative documents, such as

                    13   commercial documents with independent legal significance. See, e.g., Universal City Studios

                    14   LLC v. Otis Elevator Co., 2016 WL 2642209, at *2 (C.D. Cal. May 9, 2016) (taking judicial

                    15   notice of a maintenance agreement between the parties); see also Byrd v. Superior Court, 2009

                    16   WL 2031761, at *2 n.2 (N.D. Cal. July 8, 2009) (taking judicial notice of a letter of termination,

                    17   among other things, upon finding that the “court may take judicial notice of facts not reasonably

                    18   subject to dispute, either because they are generally known, are matters of public record or are

                    19   capable of accurate and ready determination” (citing Intri-Plex Techs., Inc. v. Crest Grp., Inc.,
                    20   499 F.3d 1048, 1052 (9th Cir. 2007)).

                    21          4.      Judicial notice is also proper where a plaintiff does not dispute the authenticity of

                    22   the subject documents and references them in prior filings. See Capolupo v. Eills, 2019 WL

                    23   2327883, at *3 n.3 (N.D. Cal. May 31, 2019) (taking judicial notice of documents that the

                    24   plaintiff referenced in the operative complaint as well as in opposition to a motion to dismiss).

                    25          5.      Moreover, in ruling on a motion to dismiss, a court may consider documents

                    26   “whose contents are alleged in a complaint and whose authenticity no party questions, but which

                    27   are not physically attached to the [plaintiff’s] pleading.” Parrino v. FHP, Inc., 146 F.3d 699 (9th

                    28   Cir. 1998) (superseded by statute on other grounds). A plaintiff cannot evade application of the
MORGAN, LEWIS &                                                                         CHART INC.’S REQUEST FOR JUDICIAL NOTICE
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                     1   incorporation by reference doctrine by omitting or avoiding references to the documents upon

                     2   which their claims are based. See Steinle v. City and County of San Francisco, 919 F.3d 1154,

                     3   1167 n.17 (9th Cir. 2019) (noting that “[r]emoving references to the [document] in their

                     4   complaint would be unavailing to Plaintiffs and would not assist them in overcoming the

                     5   incorporation by reference doctrine . . . .”).

                     6           6.      “[T]he Court may consider matter that is properly the subject of judicial notice . . .

                     7   without converting a motion to dismiss into one for summary judgment.” Permito v. Wells Fargo

                     8   Bank, N.A., 2012 WL 1380322, at *2 (N.D. Cal. Apr. 20, 2012) (citing Lee v. Los Angeles, 250

                     9   F.3d 668, 688-89 (9th Cir. 2001)); see also United States v. Ritchie, 342 F.3d 903, 908 (9th Cir.
                    10   2003) (noting that a court may “consider certain materials—documents attached to the complaint,

                    11   documents incorporated by reference in the complaint, or matters of judicial notice—without

                    12   converting the motion to dismiss into a motion for summary judgment” (citations omitted)).

                    13           7.      Here, the Informed Consent Agreements (attached hereto as Exhibits 1 and 2) are

                    14   legally operative contracts signed by the Plaintiffs, have all been filed in the record in this action,

                    15   and cannot reasonably be questioned. The Informed Consent Agreements are “part of Plaintiffs’

                    16   confidential patient records from PFC” and “reflect[] various treatment elections made by

                    17   Plaintiffs related to those services.” Dkt. 172-1, ¶ 3; Dkt. 173-1, ¶ 3. Moreover, the services

                    18   Plaintiffs obtained pursuant to the Informed Consent Agreements form the basis of Plaintiffs’

                    19   claims. See, e.g., Dkt. 143 (Compl.), ¶¶ 4, 10 (alleging that Plaintiffs “decided to undergo
                    20   fertility treatment at PFC and to procure long-term freezer storage services for their eggs and

                    21   embryos at its San Francisco facility,” and that “[a]s a result of the [March 4, 2018] incident,

                    22   Plaintiffs have suffered harm”); see also, e.g., Exhibit 2-D at 21 (Plaintiffs “acknowledge and

                    23   agree that PFC will not perform any of the procedures outlined above without your agreement to

                    24   the terms and conditions of the Agreement, and that your concurrence constitutes adequate

                    25   consideration as to the matters addressed in this Agreement”). Plaintiffs have conceded that the

                    26   Informed Consent Agreements “were the means by which Plaintiffs consented to

                    27   cryopreservation services.” Dkt. 165 (Plaintiffs’ Consol. Opp. to Suppl. Briefing) at 8.

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MORGAN, LEWIS &                                                                          CHART INC.’S REQUEST FOR JUDICIAL NOTICE
 BOCKIUS LLP                                                                2                 IN SUPPORT OF ITS MOTION TO DISMISS
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                     1             8.     Defendant Pacific Fertility Center (“PFC”) filed the Informed Consent Agreements

                     2   in connection with its “Renewed Administrative Motion to File Under Seal Exhibits to the

                     3   Supplemental Declaration of Aaron T. Schultz in Support of Motion to Compel Arbitration”

                     4   (Dkt. 172) and its “Renewed Administrative Motion to File Under Seal Exhibit to Aaron T.

                     5   Schultz Declaration in Support of Motion to Compel Arbitration” (Dkt. 173).1

                     6             9.     PFC filed unredacted versions of the Informed Consent Agreements concurrently

                     7   with its motions to file under seal. See Dkt. 172-1, ¶ 7; Dkt. 173-1, ¶ 7.

                     8             10.    Attached hereto as Exhibit 1 is a true and correct copy of Dkt. 172-3 without the

                     9   cover page (available through PACER.gov), which is current Plaintiffs A.B. and C.D.’s Informed
                    10   Consent Agreement, with redactions to protect Plaintiffs’ identifying information. See Dkt. 172-1

                    11   (3/7/19 Schultz Decl.), ¶ 3. PFC initially filed this document conditionally under seal as

                    12   Exhibit C to Exhibit 1 to the January 9, 2019 “Corrected Supplemental Declaration of Aaron T.

                    13   Schultz in Support of Defendant Pacific Fertility Center’s Notice of Motion and Motion to

                    14   Compel Arbitration,” which Mr. Schultz described and declared to under penalty of perjury. See

                    15   Dkt. 157 (1/9/19 Schultz Decl.), ¶ 3.

                    16             11.    Attached hereto as Exhibit 2 is a true and correct copy of Dkt. 173-3 without the

                    17   cover page (available through PACER.gov), which includes the Informed Consent Agreements of

                    18   Plaintiffs E.F., G.H., I.J., K.L., M.N., and O.P.,2 with redactions to protect Plaintiffs’ identifying

                    19   information. See Dkt. 173-1 (3/7/19 Schultz Decl.), ¶ 3. PFC initially filed this document
                    20   conditionally under seal as Exhibits B, D, F, H, J-L, and N-S to Exhibit 1 to the June 29, 2018

                    21   “Declaration of Aaron T. Schultz in Support of Defendant Pacific Fertility Center’s

                    22   Administrative Motion to File Under Seal Exhibit to Aaron T. Schultz Declaration in Support of

                    23   Motion to Compel Arbitration,” which Mr. Schultz described and declared to under penalty of

                    24   perjury. See Dkt. 51-1 (6/29/18 Schultz Decl.), ¶ 3.

                    25             12.    The Informed Consent Agreements are not subject to reasonable dispute. PFC

                    26   previously filed all of the Informed Consent Agreements as operative documents in connection

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                             The Court granted PFC’s motions to file under seal. See Dkt. 177.
                    28   2
                             Plaintiffs M.N. and O.P. voluntarily dismissed their claims. See Dkt. 163.
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 BOCKIUS LLP                                                                3                 IN SUPPORT OF ITS MOTION TO DISMISS
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                     1   with PFC’s motion to compel arbitration. See, e.g., Dkt. 51-3, Dkt. 157. Plaintiffs referred to

                     2   these agreements in their oppositions to PFC’s motion and they did not at any time contest or

                     3   question the authenticity of their Informed Consent Agreements. See Dkt. 109, 165. Judicial

                     4   notice is therefore proper. See Capolupo, 2019 WL 2327883, at *3 n.3.

                     5          13.     For all of the foregoing reasons, Chart respectfully requests that the Court take

                     6   judicial notice of Exhibits 1 and 2 hereto, and/or determine that Exhibits 1 and 2 are incorporated

                     7   by reference into the Complaint.

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                     9   Dated: June 4, 2019                                  MORGAN, LEWIS & BOCKIUS LLP
                    10                                                        By /s/ Molly Moriarty Lane
                                                                                 Molly Moriarty Lane
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                                                                              Attorneys for Defendant
                    12                                                        CHART INC.
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MORGAN, LEWIS &                                                                         CHART INC.’S REQUEST FOR JUDICIAL NOTICE
 BOCKIUS LLP                                                              4                  IN SUPPORT OF ITS MOTION TO DISMISS
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